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Form 13-1 (20240301)


                              IN THE UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF ILLINOIS
                                          EASTERN DIVISION


 In re: Angel M Hughes                                         )            Case No. 23-17341
                                                               )
                                                               )            Chapter 13
                                                               )
 SSN: XXX-XX- 1724                             Debtors         )            Honorable David D. Cleary



            AMENDED           ORDER TO EMPLOYER TO PAY THE TRUSTEE

 To: chicago family health
     9917 S Exchange Ave
     Chicago, IL 60617

        Attn: Payroll Department

 WHEREAS, the above named debtor has submitted a plan to pay his/her debts out of his/her future earnings,
 and by his/her plan submits all of his/her future earnings to the supervision and control of this Court for the
 purpose of carrying out the Plan:

                                                                            Chicago Family Health
 NOW IT IS THEREFORE ORDERED, that until further order of this Court,_____________________________________,
 employer of Angel M Hughes
             _______________________________,                                                          1,507.00
                                                    deduct from the earnings of the debtor the sum of $____________
 each month beginning on the next pay day following the receipt of this order and to pay the sum so deducted to ,
 Marilyn O. Marshall, Trustee at least once a month at the following address:

                                        Marilyn O. Marshall Chapter 13 Trustee
                                                    P.O. Box 2031
                                               Memphis, TN 38101-2031

 IT IS FURTHER ORDERED, that the employer shall stop or change the deduction upon written notice from the
 Trustee;

 IT IS FURTHER ORDERED, that the employer shall notify the Trustee if the employment of the debtor is
 terminated and the reason for such termination;

 IT IS FURTHER ORDERED, that all earnings of the debtor, except amounts required to be withheld by the
 provisions of Federal or State law or for insurance, pension or union dues, be paid to the debtor and that no
 deduction other than authorized or directed by this order be made by the employer.
                                                               FOR THE COURT



 Date           1/16/2025
 Entered:
                                                                Jeffrey
                                                                  fffrey Allsteadt,
                                                                Jeff
                                                                  ffr    Allls
                                                                         A  lstte
                                                                            lste   t, Clerk,
                                                                                eadt,
                                                                                   t, Clerk, United States Bankruptcy Court

Debtor or Attorney Signature /s/David
                              ______________________
                                      H Cutler                                                01/15/2025
                                                                                         Date:_______________

        I agree to entry of this order without further notice or hearing.

       Check this box if the debtor has agreed to the entry of this order without further notice or hearing through Section
       I of the Chapter 13 Plan.
